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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                 )
                                         )
            v.                           )           Cr. No. 18-10450-MLW
                                         )
ERICK LOPEZ FLORES,                      )
HENRI SALVADOR GUTIERREZ,                )
ELISEO VAQUERANO CANAS,                  )
JONATHAN TERCERO YANES,                  )
MARLOS REYES, and                        )
DJAVIER DUGGINS,                         )
     Defendants.                         )

                             MEMORANDUM AND ORDER

WOLF, D.J.                                                          June 24, 2020

      For the reasons discussed at the June 23, 2020 scheduling

conference, it is hereby ORDERED that:

      1.    The    government      and   counsel       for   defendant        Djavier

Duggins shall continue to confer and report further by June 29,

2020,    whether    they    have   reached     an    agreement     on   any   issues

relating to Duggins' pending motions or any other matter.

      2.    The government and counsel for each of the defendants

shall report by June 30, 2020, whether, in their view, the court

should issue, pursuant to Rule 83.2.2(1) of the Local Rules of

the     United     States    District        Court    for    the    District      of

Massachusetts, an order that the attorneys in this case and all

Department of Justice personnel obey Local Rule 83.2.1 and 28

C.F.R. §50.2. See United States v. Flemmi, 233 F. Supp. 2d 75,

78-81, 86, 88-89 (D. Mass. 2000).
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        3.     Defendants shall, by July 24, 2020, file any notice

required by Federal Rule of Criminal Procedure 12.2(a) or (b).

The court may provide additional time for any such notice to be

filed, or allow it to be filed late, if there is good cause to

do so. See Fed. R. Crim. P. 12.2(a).

        4.     A     hearing      on    defendant          Henri   Salvador      Gutierrez's

Motion to Dismiss and Motion to Strike Surplusage (Dkt. Nos.

133, 134) will commence on August 17, 2020, at 2:00 p.m., and

continue from day to day if necessary. Salvador Gutierrez shall,

by   July      24,    2020,      state     whether      he    consents     to    having     the

hearing conducted by videoconference if his personal presence

would        otherwise      be      required      by       Federal    Rule      of    Criminal

Procedure 43 and the court decides that in view of the COVID-19

pandemic conducting the hearing in the courtroom would not be

prudent.

      5.       The government and counsel for each defendant shall

confer and, by September 4, 2020, report whether an agreement to

resolve       this    case       against    any       or     all   defendants        has   been

reached.       If    not,     the      parties       shall    continue     to    confer     and

propose a date by which they shall report again.

        6.     Any     motions       to    dismiss,         motions   to     suppress,      and

motions in limine shall be filed by September 30, 2020. The

court will allow motions for leave to file additional motions at

a later date if there is good cause to do so.

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     7.   The parties shall order the transcript of the June 23,

2020 conference.




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